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                        N                                    AUSA Hayley Altabef (312) 353-5357
   THOMA.SDG . BRUTO   COURT
           IS T R IC T
CLERK, U.S
                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

       UNITED STATES OF AMERICA
                                                           Case No.: 1:25-cr-00247-1
                    v.                                     BETH W. JANTZ
                                                           Magistrate Judge
      BRIAN CHRISTOPHER JONES

                         AFFIDAVIT IN REMOVAL PROCEEDING

            I, LAURIE ANN BOSKOVICH, appearing before United States Magistrate

     Judge BETH W. JANTZ by telephone and being duly sworn under oath, state that as

     a federal law enforcement officer I have been informed that BRIAN CHRISTOPHER

     JONES has been charged by Complaint in the Southern District of Florida with the

     following criminal offense: distribution of child pornography, in violation of Title 18,

     United States Code, Sections 3353(a)(2) and (b)(l).

            A copy of the Complaint is attached. A copy of the arrest warrant also is




                                                           Ju�4Jn.
     attached.


                                                        �RIE A         OSKOVIC
                                                        Special Agent
                                                        Federal Bureau of Investigation


     SWORN TO AND AFFIRMED by telephone this 5th day of May, 2025 ..


                                                           BETH W. JANTZ
                                                           United States Magistrate Judge
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                                                    25-MJ-2747-LETT




                                                                         ID #21179



04.15.2025
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                                                       ID# 21179




              15th
                      Case: 1:25-cr-00247 Document #: 1 Filed: 05/05/25 Page 12 of 12 PageID #:12
AO 442 (Rev. 01/09) Arrest Warrant



                                          UNITED STATES DISTRICT COURT
                                                                 for the
                                                     SouthernDistrict
                                                 __________   District of
                                                                       of __________
                                                                          Florida

                      United States of America                     )
                                 v.                                )
                                                                   )         Case No. 25-MJ-2747-LETT
                 BRIAN CHRISTOPHER JONES,                          )
                             Defendant
                             Defendant.                            )

                                                     ARREST WARRANT
To:       Any authorized law enforcement officer

          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      BRIAN CHRISTOPHER JONES                                                                              ,
who is accused of an offense or violation based on the following document filed with the court:

u Indictment               u Superseding Indictment       u Information         u Superseding Information              ✔ Complaint
                                                                                                                       u
u Probation Violation Petition             u Supervised Release Violation Petition         u Violation Notice          u Order of the Court

This offense is briefly described as follows:
  Distribution of Child Pornography, in violation of Title 18, United States Code, Section 2252(a)(2) and (b)(1)




Date: April 15, 2025
                                                                                            Issuing officer’s signature

City and state:          Miami, Florida                                    Honorable Enjoliqué A. Lett, United States Magistrate Judge
                                                                                              Printed name and title


                                                                 Return

          This warrant was received on (date)                          , and the person was arrested on (date)
at (city and state)                                          .

Date:
                                                                                           Arresting officer’s signature



                                                                                              Printed name and title
